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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 

TIMOTHY HARRINGTON,
CIVIL ACTION NO:
Plaintiff,

CIVIL ACTION

RANDALL CRATER,
BLUEMAGICGAMING.com, and COMPLAINT AND JURY DEMAND

MYBIGCOIN. com

Defendants.

 

 

 

 

Plaintiff, Timothy Harrington, as and for his complaint
against Defendant Randall Crater, BlueMagicGaming.com, and
Mybigcoin.com (collectively “Defendants”), states as follows:

NATURE OF THE ACTION

1. This is an action to remedy wrongful conduct by
Defendants in violation of the laws of the State of New York,
including for breach of contract, unjust enrichment, and breach of
fiduciary duty under the New York Partnership Law (“PTR”) and
common law. This action seeks injunctive relief and compensatory
damages in order to secure future protection and redress the past
deprivation of rights and property secured to Plaintiff under these
state laws.

2. Plaintiff is a partner of Greyshore Website Management

Company, Inc. (“GWMC”), a partnership that developed, launched,
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and manages the entities and websites BlueMagicGaming.com and
MyBigCoin.com. Pursuant to an Agreement dated December 17, 2013
(‘the Agreement”), Plaintiff is an equal partner in GWMC with
Defendant Randall Crater.

3. Since the launch of these websites, Defendants and GWMC
have received a substantial amount in revenue, believed to be in
excess of $10,000,000.00. Despite the receipt of such revenue and
repeated requests by Plaintiff for his proportionate distributions
of such revenue and inspection of the books and records of GWMC
and the websites, Defendants have refused to make distributions in
breach of the terms of the Agreement and in violation of the laws
of the State of New York.

4. Plaintiff seeks: (a) anjtmetive relief restraining
Defendants from transferring any assets or distributing
partnership monies, disgorging any monies or assets disbursed in
connection with the subject matter of this action, and granting
Plaintiff access to all records of Defendants pertaining to the
subject matter of this action; and (b) awarding compensatory
damages in the amount of his proportionate share of all income
received by Defendants, together with interest and attorneys’

fees.
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JURISDICTION AND VENUE

 

5. This Court has personal jurisdiction over the Defendants
in this matter by virtue of the Defendants being domiciled in the
State of New York and their purposeful, regular, and continuous
contacts in Suffolk County in the State of New York. Plaintiff's
causes of action arise out of such contacts and actions by
Defendants in New York. Defendant Carter is a domiciliary of the
State of New York. Defendants BlueMagicGaming.com and
MyBigCoin.com are New York companies having their principal place
of business at 81 Newtown Lane, East Hampton, New York 11937.

6. This Court has subject matter jurisdiction in this
matter pursuant to 28 U.S.C. § 1332 as complete diversity of
Citizenship exists between Plaintiff, a domiciliary of the State
of New Jersey, and all of the Defendants, who are domiciled in the
State of New York. The business entity defendants are not
corporations of the State of New Jersey. The amount in controversy
exceeds $75,000.00.

7. Venue is proper in the United States District Court for
the Eastern District of New York, Central Islip Divisional Office,
Suffolk County, pursuant to 28 U.S.C. § 1391 because the incidents
giving rise to the causes of action took place within the District.
Assignment of this case to the Central Islip Divisional Office in

Suffolk County is also proper because it is cognizable as a “Long
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Island Case” pursuant to Rule 50.1(d) (2) of the Rules for the
Division of Business Among District Judges for the Eastern District
under the Local Rules of the United States District Courts for the
Southern and Eastern Districts of New York because a substantial
part of the events or omissions giving rise to the claims occurred
in Suffolk County and the Defendants reside in Suffolk County.
Such action is also proper because the Agreement provides for
jurisdiction in the State of New York and the venue of Suffolk
County.
THE PARTIES

8. Plaintiff, Timothy Harrington is an individual residing
at 15 Valhalla Way in Rockaway, New Jersey 07866.

9, Greyshore Website Management Company, Inc. (“GWMC”) is
a partnership having a place of business located at 81 Newtown
Lane, East Hampton, New York 11937.

10. Defendant Randall Crater is an individual residing at 81
Newtown Lane, East Hampton, New York 11937.

11. Defendant BlueMagicGaming.com is an entity and a website
operated by GWMC, having a business address of 81 Newtown Lane,
East Hampton, New York 11937.

12. Defendant MyBigCoin.com is an entity and a website
operated by GWMC, having a business address of 81 Newtown Lane,

East Hampton, New York 11937.
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FACTS COMMON TO ALL COUNTS

13. By agreement dated December 17, 2013 (the “Agreement”),
Plaintiff and Defendant Crater agreed to become partners in the
business partnership known as _ Greyshore Website Management
Company, Inc.

14. The stated purpose of the GWMC partnership was to “own,
operate and manage BlueMagicGaming.com and Mybigcoin.com
websites”.

15. Pursuant to the Agreement, the profits and losses of the
partnership were to be distributed on a 50/50 basis between
Plaintiff and Defendant Crater.

16. The Agreement provides’ that Plaintiff's initial
contribution to the partnership was a payment of $50,000.00 to
Defendants.

17. Plaintiff made the initial contribution to Defendant
Crater in or around December 2013.

18. Plaintiff made subsequent capital contributions to the
partnership after the initial contribution.

19. Plaintiff’s capital contributions were used to fund the
development and launch of the websites, BlueMagicGaming.com and
MyBigCoin.com.

20. The two websites were owned and operated by GWMC

beginning in December 2013.
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21. Following the launch of the websites, Defendant Crater,
as the partner in charge of day-to-day business office of the
partnership, operated the websites and generated revenue for the
partnership.

22. The Agreement established Plaintiff and Defendant Crater
as both managing members of GWMC.

23. The partnership was required to establish and maintain
capital accounts for the partners as well as a general account as
a measure to keep proper records of all monies received and paid
out on behalf of GWMC.

24. Pursuant to the terms of the Agreement, both Plaintiff
and Defendant Crater were to have access to and the right to
inspect the partnership books and records, which were required to
be maintained at the principal place of business of the
partnership, 81 Newtown Lane in East Hampton, New York.

25. Defendant Crater maintained the books and records at the
main business address, which is also his address in East Hampton
and he had access to the bank records and capital account ledgers.

26. Throughout the period from 2014 through 2016, GWMC
operated the two websites and generated income from subscribers
and purchasers of items from the websites.

27.  GWMC received income which was exclusively held and

maintained by Defendant Crater at the GWMC business location.
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28. From 2014 to the present, Defendant Crater actually
received proceeds from income generated by BlueMagicGaming.com and
MyBigCoin.com. On more than one occasion, Defendant Carter has
made representations to Plaintiff that income has been generated
by GWMC, BlueMagicGaming.com, and/or MyBigCoin.com, and that
Defendant Crater and Plaintiff would share in the profits ona
50/50 basis, consistent with the terms of the Agreement.

29. Defendant Crater has made distributions to himself from
the proceeds received by GWMC.

30. To date, Defendant Crater has failed and refused to make
any disbursements to Plaintiff despite request by Plaintiff
pursuant to the Agreement.

31. Plaintiff made request to Defendant Crater to allow him
access to the books and records of GWMC.

32. Defendant Crater has not responded to Plaintiff’s
requests for such access to the records of the capital account
ledger and the general account.

33. Defendant Crater has breached the Agreement by taking
disbursements from the partnership, failing to provide Plaintiff
with his one-half portion of the receipts of the partnership, and
by refusing to allow Plaintiff access to partnership’s books and

records and bank accounts.
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34. As a direct and proximate result of the Defendants’

actions, Plaintiff has sustained irreparable harm and other

damages.
FIRST COUNT
(Injunctive Relief)
35. Plaintiff repeats each and every allegation contained in

the preceding paragraphs of the complaint as though fully set forth
herein.

36. The Agreement provides that the partners are required to
deposit all receipts into the general account which is subject to
distribution between Plaintiff the Defendant Crater on an equal
basis.

37. The Agreement also states that GWMC is required to make
the accounts and records of the partnership available to each
partner.

38. During the period from 2014 to the present, Defendant
Crater operated the two websites, BlueMagicGaming.com and
MyBigCoin.com for which he and GWMC received income.

39. Defendant Crater has failed and refused to properly
account for the income and profits generated by GWMC to which
Plaintiff is entitled as a partner.

40. Despite requests by Plaintiff, Defendant Crater has

refused to provide Plaintiff access to the books and records of
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the partnership including the bank accounts, the general ledger
and the capital accounts.

41. As a result of Defendants’ actions and refusals,
Plaintiff has been irreparably harmed and deprived of his rights
as a partner of GWM.

WHEREFORE, Plaintiff Timothy Harrington seeks judgment
against Defendants Randall Crater, BlueMagicGaming.com and
MyBigCoin.com, jointly and severally, for injunctive relief as
follows:

A. Restraining Defendants from making any disbursement or
distribution of any amounts held by any of the Defendants
that were received and/or generated by GWMC;

B. Directing Defendants to immediately provide Plaintiff
access to all of the books and records of GWMC from 2013
to the present, including but not limited, bank account
records, the books of the capital accounts and general
ledger, a statement of all amounts received by any of the
Defendants relating to the operation of
BlueMagicGaming.com and/or MyBigCoin.com, and a statement
of all disbursements and distributions made to any party

from GWMC;
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C. Directing Defendants to disgorge any amounts disbursed to
date to any of the Defendants by GWMC of from any amounts
received or held by GWMC;

D. Restraining Defendants from transferring any assets of
GWMC, including monies held in any GWMC account, during
the pendency of this matter; and

E. Awarding Plaintiff compensatory damages, attorneys’ fees

and such further relief as the Court deems just and

equitable.
SECOND COUNT
(Breach of Contract)
42. Plaintiff repeats each and every allegation contained in

the preceding paragraphs of the Complaint as though fully set forth

herein.

43. Plaintiff and Defendant Crater entered into the
Agreement governing the terms of the partnership known as Greyshore
Website Management Company, Inc.

44. The Agreement states that the partners are entitled to
50% of the receipts from the partnership’s business, which involved
the operation of the BlueMagicGaming.com and MyBigCoin.com

websites.

45. As a partner, Plaintiff is entitled to review the books

and records of the partnership.

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46. Defendant Crater has breached the Agreement by taking
disbursements of receipts from GWMC without paying the 50% to
Plaintiff.

47. Defendant Crater has failed and refused to provide
Plaintiff access to the partnership accounts and books including
those relating to capital accounts, the general ledger and the
bank accounts.

48. Defendant Crater has breached the Agreement.

49. As a direct and proximate result of Defendant Crater’s
breach of the Agreement, Plaintiff has sustained damages.

50. Plaintiff has fully performed his obligations under the
contract.

WHEREFORE, Plaintiff, Timothy Harrington demands judgment
against Defendants Randall Crater for compensatory damages with
interest, attorneys’ fees, and such further relief as the Court

deems just and equitable.

THIRD COUNT
(Unjust Enrichment)

51. Plaintiff repeats each and every allegation contained in
the preceding paragraphs of the Complaint as though fully set forth
herein.

52. Pursuant to the Agreement between the parties, Plaintiff
made payments to Defendant Crater and GWMC as his capital

contribution to the partnership.

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53. Defendants received the principal sum from Plaintiff and
used such funds to launch the websites and generate revenue from
sales.

54. Defendants agreed to make distributions to Plaintiff in
the amount of 50% of the profits generated by GWMC and the two
websites.

55. Defendants failed to make distribution to Plaintiff in
any amount despite the fact that GWMC received significant income
and profits from its operation of the two websites.

56. It would be unjust for Defendants to retain the benefit
of Plaintiff’s contributions to Defendants without compensating

Plaintiff.

57. As a result, Defendants should be required to make
payment to Plaintiff to reimburse him for the amounts he
contributed to the partnership in addition to his efforts that
provided a benefit to the Defendants.

WHEREFORE, Plaintiff, Timothy Harrington demands judgment
against Defendants Randall Crater, BlueMagicGaming.com and
MyBigCoin.com, jointly and severally, for compensatory damages
with interest, attorneys’ fees, and such further relief as the

Court deems just and equitable.

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FOURTH COUNT
(Accounting - New York Partnership Law)

58. Plaintiff repeats each and every allegation contained in
the preceding paragraphs of the Complaint as though fully set forth
herein.

59, Pursuant to New York Partnership Law Section, including
at P.L. §§ 41-42, a partner has the right to inspect all financial
records and books of a partnership in which the partner is a
member.

60. Defendants have refused to provide such access to
Plaintiff, a full and equal Partner, despite Plaintiff’s repeated
requests and in violation of the terms of the Agreement, including
wrongful exclusion from the partnership business and joint
possession of partnership property, secret profits obtained by
Defendants, and circumstances that are just and reasonable for
intervention of the Court.

61. Therefore Defendants are liable under New York
Partnership Law, including P.L. §$§ 41-44 and must provide
accounting rights and access of all books and records of GWMC,
BlueMagicGaming.com, and MyBigCoin.com to Plaintiff.

WHEREFORE, Plaintiff, Timothy Harrington demands judgment
against Defendants Randall Crater, BlueMagicGaming.com and

MyBigCoin.com, jointly and severally, for compensatory damages

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with interest, attorneys’ fees, and such further relief as the

Court deems just and equitable.

FIFTH COUNT
(Breach of Duty to Co-Partner — New York Partnership Law)

62. Plaintiff repeats each and every allegation contained in
the preceding paragraphs of the Complaint as though fully set forth
herein.

63. Plaintiff and Defendant Carter entered into an Agreement
which sets forth the terms of the partnership, including the even
distribution of profits.

64. The Agreement also sets forth a number of duties,
including the duty of loyalty, disclosure and sharing information,
and the equal sharing of profits.

65. Defendant Carter has breached such duties by failing to
disclose and share the information regarding revenues of the
partnership, including the books, despite repeated requests from
Plaintiff, and failing to make distributions according to the terms
of the Agreement.

66. Partner Defendant Crater is liable for violating the New
York Partnership Law, including at §§ 41-44.

67. Partner Defendant Crater is liable to Plaintiff for
violating duties of loyalty and care in failing to disclose
revenues, to make distributions, and to make available records for

inspection despite repeated requests and demands by Plaintiff

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WHEREFORE, Plaintiff, Timothy Harrington demands judgment
against Defendant Randall Crater for compensatory damages with
interest, attorneys’ fees, and such further relief as the Court

deems just and equitable.

SIXTH COUNT
(Breach of Fiduciary Duty to Co-Partner)

68. Plaintiff repeats each and every allegation contained in
the preceding paragraphs of the Complaint as though fully set forth
herein.

69. The business entities Defendants BlueMagicGaming.com and
MyBigCoin,com, and the partnership arrangement between Plaintiff,
Defendant Crater, and GWMC are essentially permanent in nature.

70. Therefore, Defendant Crater has duties of loyalty,
trust, confidence, good faith, and to share business opportunities
with Plaintiff that are clearly related to the subject of the
operations of the partnership, which include the operations of all
Defendants and business entities.

71. Defendant Crater has knowingly refused to share the
business opportunities with Plaintiff, as there have been no
distributions of revenues or profits generated by GWMC, Defendant
Crater, Defendant BlueMagicGaming.com, or Defendant MyBigCoin.com.
Defendants have retained these business opportunities and profits

for themselves.

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72. Therefore, Defendant Crater is liable to Plaintiff for
breach of fiduciary duty to his co-partner.

WHEREFORE, Plaintiff, Timothy Harrington demands judgment
against Defendant Randall Crater for compensatory damages with
interest, attorneys’ fees, and such further relief as the Court

deems just and equitable.

SEVENTH COUNT
(Civil Fraud)

73. Plaintiff repeats each and every allegation contained in
the preceding paragraphs of the Complaint as though fully set forth
herein.

74. Defendant Crater entered into a partnership agreement
(“the Agreement”) with Plaintiff whereby Plaintiff was designated
as an equal partner with Defendant Crater in GWMC, which owned and
operated the websites BlueMagicGaming.com and MyBigCoin.com.

75. GWMC owned and began operating the websites,
BlueMagicGaming.com and MyBigCoin.com, in December 2013

76. The websites, BlueMagicGaming.com and MyBigCoin.com,
thereafter began generating revenue, which continued from at least
2014 and through 2016.

77. On more than one occasion, Defendant Carter has made
representations to Plaintiff that income has been generated by
GWMC, BlueMagicGaming.com, and/or MyBigCoin.com, and that

Defendant Crater and Plaintiff would share in the profits on a

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50/50 basis, consistent with the terms of the Agreement. Defendant
Crater made these representations to Plaintiff through many text
messages and emails throughout the period from 2015 through 2016.

78. From 2014 to the present, Defendant Crater actually
received proceeds from income generated by BlueMagicGaming.com and
MyBigCoin.com, and has made distributions to himself from proceeds
received by GWMC through the operation of the websites
BlueMagicGaming.com and MyBigCoin.com.

79. Plaintiff has never received any distribution of such
proceeds despite the terms of the Agreement and his capital

contributions.

80. Defendant Crater intended that Plaintiff would rely upon
such representations with respect to inducing Plaintiff to make a
capital contribution pursuant to the terms of the Agreement, as
well as with respect to the generation of income by GWMC through
operation of the websites BlueMagicGaming.com and MyBigCoin.com.

81. Such statements by Defendant Crater were in fact made
with the intent to deceive Plaintiff and induce him to make capital
contributions that he otherwise would not have made.

82. Defendant Crater intended to keep all partnership
revenues from GWMC, through the operation of the websites

BlueMagicGaming.com and MyBigCoin.com, for himself.

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83. Accordingly, Defendant Crater is liable to Plaintiff for
civil fraud.

WHEREFORE, Plaintiff, Timothy Harrington demands judgment
against Defendant Randall Crater jointly and severally, for
compensatory damages with interest, attorneys’ fees, and such
further relief as the Court deems just and equitable.

EIGHTH COUNT
(Conversion)

84. Plaintiff repeats each and every allegation contained in
the preceding paragraphs of the Complaint as though fully set forth
herein.

85. Pursuant to the Agreement, one-half of all profits
generated by the partnership and/or the websites was to be
distributed to Plaintiff.

86. Defendant Crater received revenues and profits from the
operation of the partnership and websites.

87. Defendant Crater made distributions of profits from the
partnership to himself but made no such distributions to Plaintiff.

88. Defendant Crater intentionally exercised unauthorized
dominion and control over Plaintiff’s share of the profits
generated by the Defendants, all to the exclusion of Plaintiff.

89. In exercising such unauthorized control, Defendant
Crater deprived Plaintiff of his property in the form of his share

of the profits from the partnership.
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90. As a result of Defendant Crater’s unauthorized and
wrongful conversion of Plaintiff’s property, Plaintiff has
suffered damages.

WHEREFORE, Plaintiff, Timothy Harrington demands judgment
against Defendant Randall Crater for compensatory damages with
interest, attorneys’ fees, and such further relief as the Court

deems just and equitable.

BELL, SHIVAS & FASOLO, P.C.
Attorneys for Plaintiff
Timothy Harrington

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/ David T—Shives>
Dated: April 20, 2017

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury as to all issues.

BELL, SHIVAS & FASOLO, P.C.
Attorneys for Plaintiff
Timothy Harrington

By: ee
David T. Shivas

 

Dated: April 20, 2017

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DESIGNATION OF TRIAL COUNSEL

David T. Shivas, Esq. is designated as trial counsel in this

matter on behalf of plaintiff.

BELL, SHIVAS & FASOLO, P.C.
Attorneys for Plaintiff
Timothy Harrington

 

 

Dated: April 20, 2017

CERTIFICATION PURSUANT TO FED. R. CIV. P. 11

Under Federal Rule of Civil Procedure 11, by signing below,
I certify to the best of my knowledge, information, and belief
that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation; (2) is supported by existing law
or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely

have evidentiary support after a reasonable opportunity for

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further investigation or discovery; and (4) the complaint

otherwise complies with the requirements of Rule ll.

BELL, SHIVAS & FASOLO, P.C.
Attorneys for Plaintiff
Timothy Harrington

     

 

By:

   

David T. Shivas

Dated: April 20, 2017
CERTIFICATION OF NO OTHER ACTION

The undersigned hereby certified that to the best of his
knowledge and belief the specific matters delineated herein are
not currently, and have not in the past, been litigated before any
Court and that they are not the subject of any arbitration
proceedings.

In addition, the undersigned has no knowledge of any person
or entity who should be joined in this matter.

BELL, SHIVAS & FASOLO, P.C.

Attorneys for Plaintiff
Timothy Harrington

 
 
   

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By: 6 a
David T. Shivas

 

Dated: April 20, 2017

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